
The Couht,
at the prayer of the prisoner’s counsel, Mr. Swann, instructed the jury that if they should be satisfied, by the evidence, that the prisoner, knowing it to be counterfeit, passed the money to Brooke, with intent that Brooke should pass it away generally, for their joint benefit, or even for the sole benefit of the prisoner, it was not a passing in payment, within the meaning of the Act of Assembly, unless they should also be satisfied that the prisoner had given Brooke express orders to pay some certain debt due from the prisoner with that money, and the debt had been so paid ; in which case, perhaps, there may be doubt. But if the prisoner passed the false money knowingly to Brooke, in payment for good money, it was a passing in payment within the meaning of the act.
Duckett, J., absent.
Verdict, not guilty.
